Case 2:21-cv-00048 Document 1-2 Filed on 03/24/21 in TXSD Page 1 of 29
Case 2:21-cv-00048 Document 1-2 Filed on 03/24/21 in TXSD Page 2 of 29
Case 2:21-cv-00048 Document 1-2 Filed on 03/24/21 in TXSD Page 3 of 29
Case 2:21-cv-00048 Document 1-2 Filed on 03/24/21 in TXSD Page 4 of 29
Case 2:21-cv-00048 Document 1-2 Filed on 03/24/21 in TXSD Page 5 of 29
Case 2:21-cv-00048 Document 1-2 Filed on 03/24/21 in TXSD Page 6 of 29
Case 2:21-cv-00048 Document 1-2 Filed on 03/24/21 in TXSD Page 7 of 29
Case 2:21-cv-00048 Document 1-2 Filed on 03/24/21 in TXSD Page 8 of 29
Case 2:21-cv-00048 Document 1-2 Filed on 03/24/21 in TXSD Page 9 of 29
Case 2:21-cv-00048 Document 1-2 Filed on 03/24/21 in TXSD Page 10 of 29
Case 2:21-cv-00048 Document 1-2 Filed on 03/24/21 in TXSD Page 11 of 29
Case 2:21-cv-00048 Document 1-2 Filed on 03/24/21 in TXSD Page 12 of 29
Case 2:21-cv-00048 Document 1-2 Filed on 03/24/21 in TXSD Page 13 of 29
Case 2:21-cv-00048 Document 1-2 Filed on 03/24/21 in TXSD Page 14 of 29
Case 2:21-cv-00048 Document 1-2 Filed on 03/24/21 in TXSD Page 15 of 29
Case 2:21-cv-00048 Document 1-2 Filed on 03/24/21 in TXSD Page 16 of 29
Case 2:21-cv-00048 Document 1-2 Filed on 03/24/21 in TXSD Page 17 of 29
Case 2:21-cv-00048 Document 1-2 Filed on 03/24/21 in TXSD Page 18 of 29
Case 2:21-cv-00048 Document 1-2 Filed on 03/24/21 in TXSD Page 19 of 29
     Case 2:21-cv-00048 Document 1-2 Filed on 03/24/21 in TXSD Page 20 of 29Filed 3/22/2021 3:25 PM
                                                                                                    R. David Guerrero
                                                                                                         District Clerk
                                                                                              Jim Wells County, Texas
                                                                                             Larissa Gonzalez, Deputy


                                    CAUSE NO. 21-02-60953-CV

MELISSA VILLANUEVA, ON                             §           IN THE DISTRICT COURT
BEHALF OF THE EST ATE OF ABELINO                   §
GUZMAN, DECEASE, AND ON                            §
BEHALF OF A.G., A MINOR, DESIRA Y                  §
DAVIS, AND TRACY GUZMAN                            §
                                                   §
v.                                                 §           79rn JUDICIAL DISTRICT
                                                   §
ELECTRIC RELIABILITY COUNCIL                       §
OF TEXAS, INC., AMERICAN                           §
ELECTRIC POWER COMPANY, INC.,                      §
AND AEP TEXAS, INC.                                §           JIM WELLS COUNTY, TEXAS


         DEFENDANTS AMERICAN ELECTRIC POWER COMPANY, INC. AND AEP
                     TEXAS INC.'S ORIGINAL ANSWER


TO THE HONORABLE JUDGE OF SAID COURT:

        COME now, American Electric Power Company, Inc. ("AEPC") and AEP Texas Inc.

("AEP Texas"), Defendants in the above styled and numbered cause, and file this their Original

Answer to Plaintiffs' Original Petition, and would respectfully show unto the Court as follows:

                                                    I.

        AEPC and AEP Texas generally deny the allegations contained in the Plaintiffs' Original

Petition, each and every, all and singular, general and specific, and upon this denial, demand a

strict trial of the issues before the Court and to the jury.

                                                   II.

        Answering further herein, should such be necessary and by way of affirmative defense,

Defendants state that the incident and all of the damages complained of by the Plaintiffs, and

claimed in this case were the result of one or more acts or omissions of negligence committed by

others over whom Defendants had no control.



                                                    1
    Case 2:21-cv-00048 Document 1-2 Filed on 03/24/21 in TXSD Page 21 of 29




                                                 III.

       Answering further herein, should such be necessary and by way of affirmative defense,

Defendants state that the incident and all of the damages complained of by the Plaintiffs, and

claimed in this case were the result of an intervening, superseding cause.

                                                 IV.

       Answering further herein, and by way of affirmative defense, Defendant AEP Texas

contends that the Plaintiffs' damages, if any, are subject to and limited by AEP Texas' tariff on

file with the Public Utility Commission of Texas.

                                                 v.
       Answering further herein, Defendants state that the Plaintiffs' allegations of gross

negligence are subject to and limited by the provisions of Chapter 41 of the Texas Civil Practice

& Remedies Code.

                                                 VI.

       Answering further herein, AEP Texas states that at all relevant time periods herein it was

solely a transmission and distribution utility as that term is defined in §31.002( 19) of the Texas

Utilities Code and Rule 25.5(137) of the Public Utility Commission's Substantive Rules

Applicable to Electric Service Providers. AEP Texas is not a generator or a retail electric provider.

                                                VII.

       Answering further herein, AEPC states that it is not liable in the capacity in which it has

been sued and that there is a defect in parties. AEPC is the sole shareholder of AEP Texas. AEPC

is a holding company and has no employees. AEPC is not a transmission and distribution utility

and does not operate any facilities in the State of Texas. AEPC is not a proper party to this lawsuit.




                                                  2
       Case 2:21-cv-00048 Document 1-2 Filed on 03/24/21 in TXSD Page 22 of 29




                                               VIII.

         WHEREFORE, PREMISES CONSIDERED, Defendants AEPC and AEP Texas pray that

Plaintiffs take nothing by their causes of action and the Defendants go hence with costs and without

day.

                                              Respectfully submitted,

                                              SCHAUER & SIMANK, P.C.
                                              615 N. Upper Broadway, Suite 700
                                              Corpus Christi, Texas 78401-0781
                                              Ph. 361.884.2800 I Fax: 361.884.2822

                                              BROWNING LAW FIRM, PLLC
                                              P.O. Box 1600 I Abilene, Texas 79604
                                              Ph.: 325.437.3737 IFax: 325.437.1799

                                              JONES, GALLIGAN, KEY, & LOZANO, L.L.P.
                                              Town Center Tower, Suite 300
                                              2300 West Pike Boulevard I Weslaco, Texas 78596
                                              Ph: 956.968.5402 IFax: 956.969.9402

                                              DUGGINS WREN MANN & ROMERO, LLP
                                              600 Congress I Ste. 1900 I Austin, TX 78701
                                              Ph: 512.744.9300 J Fax: 512.744.9399

                                              By:      Isl G. Don Schauer
                                                       G. Don Schauer ISBN: 17733298
                                                       E-mail: dschauer@cctxlaw .com
                                                       Cade Browning ISBN: 24028748
                                                       E-mail: cade@browningfirm.com
                                                       Robert L. Galligan ISBN: 07590500
                                                       E-mail: bgalligan@ jgkl.com
                                                       Lance Kirby ISBN: 00794096
                                                       E-mail: lakirby@jgkl.com
                                                       Marnie A. McCormick I SBN: 00794264
                                                       E-mail: mmccormick@dwmrlaw.com
                                                       William Johnson I SBN: 24002367
                                                       E-mail: btohnson@dwmrlaw.com

                                          ATTORNEYS FOR DEFENDANTS
                                          AMERICAN ELECTRIC POWER COMPANY
                                          AND AEP TEXAS INC.



                                                 3
    Case 2:21-cv-00048 Document 1-2 Filed on 03/24/21 in TXSD Page 23 of 29




                                     Certificate of Service

       I hereby certify that a true and correct copy of the foregoing instrument has been forwarded

to the following counsel of record on this the 22nd day of March, 2021 :

VIA E-FILE & EMAIL:
Mikal C. Watts
WATIS GUERRA LLP
Four Dominion Drive
Bldg. 3, Suite 100
San Antonio, Texas 78257
mcwatts@wattsguerra.com

Gregory Gowan
GOWAN ELIZONDO LLP
555 N. Carancahua St., Ste. 1400
Corpus Christi, Texas 78401
ggowan@ gelawfirm.com

Patrick A. Luff
FEARS NACHAW ATI, PLLC
5473 Blair Road
Dallas, Texas 75231
pluff@fnlawfirm.com

Jerrold S. Parker
Raymond Silverman
Melanie Muhlstock
Nicholas F. Morello
PARKER W AICHMAN LLP
6 Harbor Park Drive
Port Washington, NY 11050

                                              Isl G. Don Schauer
                                               G. Don Schauer




                                                4
Case 2:21-cv-00048 Document 1-2 Filed on 03/24/21 in TXSD Page 24 of 29




                                         VERIFICATION

STATE OF TEXAS                       §
                                     §
COUNTY OF DALLAS                     §

        Before me. the undersigned notary, on this day personally appeared Robert Lesesne, the
affiant, whose identity is known to me. After I administered an oath, affiant testified as follows:

       "My name is Robert Lesesne. I am employed as Senior Counsel for American Electric
Service Corporation. and I am capable of making this verification. I have read Section VII of
Defendant American Electric Power Company, Inc.' s Ori · al swer. The facts stated in Section
VIl are true and correct to the best of my kno g                and belief.''


                                             ROBERT LESESNE

Sworn to and subscribed before me by Robert Lesesne on M             h 19, 2021.




                                                     11:~.,,  NICHOLAS P FOLIGNO
                                                  r:.c-~~ Notary Public, State of Tula
                                                  ~111(.~tf/ Comm. Exp!,.. ONN021
                                                ~'J;r.;,,,i' Notary ID 128~
     Case 2:21-cv-00048 Document 1-2 Filed on 03/24/21 in TXSD Page 25 of 29Filed 3/23/2021 4:43 PM
                                                                                                       R. David Guerrero
                                                                                                            District Clerk
                                                                                                 Jim Wells County, Texas
                                                                                                Larissa Gonzalez, Deputy


                                  CAUSE NO. 21-02-60953-CV

MELISSA VILLANUEVA, ON BEHALF                      §    IN THE DISTRICT COURT OF
OF THE ESTATE OF ABELINO                           §
GUZMAN, DECEASED, AND ON                           §
BEHALF OF A.G., A MINOR, DESIRAY                   §
DAVIS, AND TRACY GUZMAN,                           §
                                                   §
        Plaintiffs,                                §
                                                   §
V.                                                 §    JIM WELLS COUNTY, TEXAS
                                                   §
ELECTRIC RELIABILITY COUNCIL                       §
OF TEXAS, INC., AMERICAN                           §
ELECTRIC POWER COMPANY, INC.,                      §
AND AEP TEXAS, INC.,                               §
                                                   §
        Defendants.                                §    79TH JUDICIAL DISTRICT

                                ERCOT’S ORIGINAL ANSWER

       Defendant Electric Reliability Council of Texas, Inc. (“ERCOT”) files this Original Answer

and respectfully shows this Court the following:

                                             I.
                                FAILURE TO STATE A CLAIM

       1.      Plaintiffs Melissa Villanueva, on Behalf of the Estate of Abelino Guzman, Deceased,

and on Behalf of A.G., a Minor, Desiray Davis, and Tracy Guzman (“Plaintiffs”)fail to state a claim

against ERCOT for which relief can be granted.

                                               II.
                                         JURISDICTION

       2.      This Court lacks jurisdiction to adjudicate Plaintiffs’ claims against ERCOT because

they are barred by sovereign immunity and fall within the exclusive jurisdiction of the Public Utility

Commission of Texas.




DEFENDANT ERCOT’S ORGINAL ANSWER                                                               Page 1
    Case 2:21-cv-00048 Document 1-2 Filed on 03/24/21 in TXSD Page 26 of 29




                                          III.
                                LIMITATION OF DAMAGES

        3.     To the extent Plaintiffs’ claims against ERCOT are not barred, Plaintiffs’ recoverable

damages, if any, are limited pursuant to Section 84.006 of the Texas Civil Practice & Remedies

Code.

                                            IV.
                                      GENERAL DENIAL

        4.     Pursuant to Rule 92 of the Texas Rules of Civil Procedure, ERCOT generally denies

each and every claim and allegation contained in Plaintiffs’ Original Petition, and all amendments

and supplements thereto, and demands strict proof thereof as required by law.

                                          V.
                                 AFFIRMATIVE DEFENSES

        5.     Plaintiffs’ claims are barred, in whole or in part, by the doctrine of sovereign

immunity.

        6.     Plaintiffs’ claims are barred, in whole or in part, by Plaintiffs’ failure to exhaust

and/or utilize available administrative remedies.

        7.     Plaintiffs’ claims are barred, in whole or in part, by Chapters 32 and/or 33 of the

Texas Civil Practice & Remedies Code.

        8.     Plaintiffs’ claims are barred, in whole or in part, by failure to mitigate damages, if

any.

        9.     Plaintiffs’ claims are barred, in whole or in part, because Plaintiffs’ harm, if any,

arose from an intervening and superseding cause.

        10.    Plaintiffs’ harm, if any, arose from an Act of God.

        11.    Plaintiffs cannot recover damages against ERCOT pursuant to Section 25.361 of Title

16 of the Texas Administrative Code.

DEFENDANT ERCOT’S ORGINAL ANSWER                                                              Page 2
    Case 2:21-cv-00048 Document 1-2 Filed on 03/24/21 in TXSD Page 27 of 29




       12.     ERCOT asserts the defense that any award of exemplary or punitive damages is

subject to all limitations imposed by Texas law including those in Chapter 41 of the Texas Civil

Practice and Remedies Code as well as those provided under the United States Constitution and the

Texas Constitution.

       13.     Any award of pre-judgment interest for damages that have not yet accrued would

violate ERCOT’s right to substantive and procedural due process under the Constitutions of the

United States and the State of Texas.

                                             VI.
                                           PRAYER

       Defendant ERCOT requests that the Court dismiss this case for lack of jurisdiction,

alternatively, ERCOT requests that upon final hearing, a judgment be entered that Plaintiffs take

nothing against ERCOT. ERCOT further requests all relief to which it is entitled.

                                            Respectfully submitted,

                                            WINSTEAD PC
                                            401 Congress Avenue, Suite 2100
                                            Austin, Texas 78701
                                            (512) 370-2800 telephone
                                            (512) 370-2850 fax

                                            By:       /s/ Elliot Clark
                                                  Elliot Clark                      SBN 24012428
                                                  eclark@winstead.com
                                                  D. Blake Wilson                   SBN 24090711
                                                  bwilson@winstead.com

                                                  and




DEFENDANT ERCOT’S ORGINAL ANSWER                                                           Page 3
    Case 2:21-cv-00048 Document 1-2 Filed on 03/24/21 in TXSD Page 28 of 29




                                                Jason R. Bernhardt              SBN 24045488
                                                jbernhardt@winstead.com
                                                Katie Banks                     SBN 24092114
                                                kbanks@winstead.com
                                                WINSTEAD PC
                                                600 Travis, Suite 5200
                                                Houston, Texas 77002
                                                (713) 650-8400 telephone
                                                (713) 650-2400 fax

                                                ATTORNEYS FOR DEFENDANT
                                                ELECTRIC RELIABILITY COUNCIL OF
                                                TEXAS, INC.

                               CERTIFICATE OF SERVICE

       By my signature below, I hereby certify that a true and correct copy of this document has
been served in accordance with the Texas Rules of Civil Procedure on this the 23rd day of March,
2021.

ATTORNEYS FOR PLAINTIFF

Mikal C. Watts                                   Gregory L. Gowan
mcwatts@wattsguerra.com                          Texas Bar No. 00795384
Francisco Guerra IV                              ggowan@gelawfirm.com
fguerra@wattsguerra.com                          Gowan Elizondo LLP
Alicia D. O'Neill                                555 N. Carancahua St., Suite 1400
aoneill@wattsguerra.com                          Corpus Christi, TX 78401
Meredith D. Stratigopoulos                       Phone: (361) 651-1000
mdrukker@wattsguerra.com                         Fax: (361) 651-1001
Watts Guerra LLP
Four Dominion Drive
Bldg. 3, Suite 100
San Antonio, TX 78257
210.447-0500 p
210.447-0501 f

Patrick A. Luff
pluff@fnlawfirm.com
Matthew R. McCarley
mccarley@fnlawfirm.com
C. Bryan Fears
fears@fnlawfirm.com
N. Majed Nachawati
mn@fnlawfirm.com
Fears Nachawati, PLLC
5473 Blair Road
DEFENDANT ERCOT’S ORGINAL ANSWER                                                          Page 4
   Case 2:21-cv-00048 Document 1-2 Filed on 03/24/21 in TXSD Page 29 of 29




Dallas, TX 75231
214.890.0711 p
214.890.0712 f

ATTORNEYS FOR DEFENDANTS
AMERICAN ELECTRIC POWER COMPANY
AND AEP TEXAS, INC.

 G. Don Schauer                                  Cade Browning
 dschauer@cctxlaw.com                            cade@browningfirm.com
 SCHAUER & SIMANK, P.C.                          BROWNING LAW FIRM, PLLC
 615 N. Upper Broadway, Suite 700                P.O. Box 1600
 Corpus Christi, Texas 78401-0781                Abilene, Texas 79604
 Ph. 361.884.2800                                Ph.: 325.437.3737
 Fax: 361.884.2822                               Fax: 325.437.1799


                                               Marnie A. McCormick
 Robert L. Galligan                            mmcconnick@dwrnriaw.com
 biialligan@jgki.com                           William Johnson
 Lance Kirby                                   biohnson@dwmrlaw.com
 lakirby@jgkl.com                              DUGGINS WREN MANN & ROMERO, LLP
 JONES, GALLIGAN, KEY, & LOZANO, L.L.P.        600 Congress, Ste. 1900
 Town Center Tower, Suite 300                  Austin, TX 78701
 2300 West Pike Boulevard                      Ph: 512.744.9300
 Weslaco, Texas 78596
                                               Fax: 512.744.9399
 Ph: 956.968.5402
 Fax: 956.969.9402




                                                  /s/ Elliot Clark
                                          Elliot Clark




DEFENDANT ERCOT’S ORGINAL ANSWER                                           Page 5
